                   Case 20-10005-KKS              Doc 10      Filed 01/13/20         Page 1 of 2
B2030 (Form 2030) (12/15)




                                    United States Bankruptcy Court
                                   NORTHERN DISTRICT OF FLORIDA
In re Thoma Bovson Barwick
                                                                                   Case No.20-10005

Debtor                                                                             Chapter _7'---

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

l.   Pursuant to 1 I U .S.C. § 329(a) and Fed. Bankr. P.2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
     agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
     in connection with the bankruptcy case is as follows:

     For legal services, Debtor has agreed to pay............................. $            I 800.00

     Prior to the filing of this statement I have received ........................$            0.00

     Balance Due ......................................................$                    I .8 00.00

2. $335.00 of the filing fee has been paid.

3. The source of the compensation paid to me was:

          D Debtor          D   Other (specify)        ■   Not Applicable

4. The source of compensation to be paid to me is:

          ■   Debtor        D   Other (specify)

5.   ■  I have not agreed to share the above-disclosed compensation with any other person unless they are
     members and associates of my law firm.

     D I have agreed to share the above-disclosed compensation with a other person or persons who are not
     members or associates of my law firm.A copy of the agreement, together with a list of the names of the people
     sharing in the compensation, is attached.

6. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
        file a petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
        hearings thereof;
Case 20-10005-KKS   Doc 10   Filed 01/13/20   Page 2 of 2
